                 Case 8:12-bk-20984-TA                                            Doc 1 Filed 09/18/12 Entered 09/18/12 15:38:25                                                                               Desc
Official Form 1 (04/10)                                                           Main Document    Page 1 of 43                                                                                                           Case #:
                                                              United States Bankruptcy Court                                                                                                 Voluntary Petition
                                                           CENTRAL DISTRICT OF CALIFORNIA
 Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


 Ospina, Judith
 All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
 aka Judith Rosario Ospina


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                     Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):   2718                                                                                (if more than one, state all):
 Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                    (No. & Street, City, and State):
 110 Tangelo
 Irvine, CA
                                                                                              ZIPCODE                                                                                                           ZIPCODE
                                                                                              92618.
 County of Residence or of the                                                                                        County of Residence or of the
 Principal Place of Business:                    Orange                                                               Principal Place of Business:
 Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                    (if different from street address):

 SAME
                                                                                              ZIPCODE                                                                                                           ZIPCODE


 Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
 (if different from street address above): NOT APPLICABLE


 Type of Debtor             (Form of organization)
                                                                             Nature of Business                                               Chapter of Bankruptcy Code Under Which
                                                                          (Check one box.)                                                    the Petition is Filed  (Check one box)
               (Check one box.)
                                                                          Health Care Business                                 Chapter 7                                          Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)
                                                                          Single Asset Real Estate as defined                  Chapter 9                                           of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.
                                                                          in 11 U.S.C. § 101 (51B)                             Chapter 11
     Corporation (includes LLC and LLP)                                                                                        Chapter 12                                         Chapter 15 Petition for Recognition
                                                                          Railroad                                                                                                of a Foreign Nonmain Proceeding
     Partnership                                                                                                               Chapter 13
                                                                          Stockbroker
     Other (if debtor is not one of the above                                                                                              Nature of Debts        (Check one box)
                                                                          Commodity Broker
     entities, check this box and state type of
                                                                                                                             Debts are primarily consumer debts, defined                                   Debts are primarily
     entity below                                                         Clearing Bank
                                                                                                                             in 11 U.S.C. § 101(8) as "incurred by an                                      business debts.
                                                                          Other                                              individual primarily for a personal, family,
                                                                                                                             or household purpose"
                                                                            Tax-Exempt Entity
                                                                              (Check box, if applicable.)                                              Chapter 11 Debtors:
                                                                          Debtor is a tax-exempt organization         Check one box:
                                                                          under Title 26 of the United States             Debtor is a small business as defined in 11 U.S.C. § 101(51D).
                                                                          Code (the Internal Revenue Code).               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

                                  Filing Fee         (Check one box)                                                  Check if:
     Full Filing Fee attached                                                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts
                                                                                                                         owed to insiders or affiliates) are less than $2,343,300 (amount
    Filing Fee to be paid in installments (applicable to individuals only). Must                                         subject to adjustment on 4/01/13 and every three years thereafter).
    attach signed application for the court’s consideration certifying that the debtor                                -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                           A plan is being filed with this petition
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
    attach signed application for the court's consideration. See Offi cial Form 3B.                                       Acceptances of the plan were solicited prepetition from one or more
                                                                                                                          classes of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

        Debtor estimates that funds will be available for distribution to unsecured creditors.
        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
        distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                             5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                         million             million        million         million           million
 Estimated Liabilities
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                         million             million        million         million           million
               Case 8:12-bk-20984-TA                           Doc 1 Filed 09/18/12 Entered 09/18/12 15:38:25 Desc
Official Form 1 (04/10)                                        Main Document    Page 2 of 43                 FORM B1, Page                                                          2
 Voluntary Petition                                                                          Name of Debtor(s):
 (This page must be completed and filed in every case)
                                                                                             Judith Ospina
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 Santa Ana                                                                           8:10-bk-22663                                                  9/8/2010
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 Santa Ana                                                                           8:11-bk-10317                                                01/08/2011
 Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                   (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ David Chase                                                          09/18/2012
                                                                                              Signature of Attorney for Debtor(s)                                            Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D completed and signed by the debtor is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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Official Form 1 (04/10)                                      Main Document    Page 3 of 43                 FORM B1, Page                                           3
 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                     Judith Ospina
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ Judith Ospina
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

     09/18/2012                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ David Chase                                                              I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     David Chase 109172
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
     Law Office of David Chase                                                  pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     1900 East La Palma Suite 207                                               or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.


     Anaheim, CA                      92805.
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     714-772-2485
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     09/18/2012                                                                  individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
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                                                                     09/18/2012
XX




                                         09/18/2012




                                             09/18/2012
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B 1D (Official Form 1, Exhibit D) (12/09)
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                                            UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                        DIVISION

In re Judith Ospina                                                                                                       Case No.
                                                                                                                                       (if known)


                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
               Case 8:12-bk-20984-TA
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               4. I am not required to receive a credit counseling briefing because of:         [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


        I certify under penalty of perjury that the information provided above is true and correct.

                                    Signature of Debtor:       /s/ Judith Ospina
                                    Date:    09/18/2012
           Case 8:12-bk-20984-TA
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                            STATEMENT OF RELATED CASES
                INFORMATION REQUIRED BY LOCAL BANKRUPTCY RULE 1015-2
           UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or against
   the debtor, his/her spouse, an affiliate of the debtor, any copartnership or joint venture of which debtor is or formerly was
   a general or limited partner, or member, or any corporation of which the debtor is a director, officer, or person in control,
   as follows: (Set forth the complete number and title of each such of prior proceeding, date filed, nature thereof, the
   Bankruptcy Judge and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so
   indicate. Also, list any real property included in Schedule A that was filed with any such prior proceeding(s).)
    CaseNumber:8:10-bk-22663,
    Case  Number:8:10-bk-22663,  Date
                               Date     Filed
                                    Filed     9/8/2010,
                                          9/8/2010,     Discharged
                                                    Discharged
    Case Number: 8:11-bk-10317-TA, Date Filed: 01/08/2011, Dismissed



2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act
   of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the debtor,
   a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the debtor is
   a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the complete
   number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge and court to
   whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A that was filed with any such prior proceeding(s).)
    None




3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer of
   the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner of the
   debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms or
   corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and
   if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with
   any such prior proceeding(s).)
    None




4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has been
   filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and
   if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with
   any such prior proceeding(s).)
    None




I declare, under penalty of perjury, that the foregoing is true and correct.

Executed at Anaheim                                  , California.             /s/ Judith Ospina
                                                                               Judith Ospina
                                                                               Debtor

Dated 09/18/2012
                                                                               Joint Debtor



                    This form is mandatory by Order of the United States Bankruptcy Court for the Central District of California.

Revised May 2004                                                                                                                F 1015-2.1
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B 201 - Notice of Available Chapters (Rev. 11/11)   Main Document    Page 8 of 43          USBC, Central District of California

          Law Office of David Chase
Name:

Address: 1900 EAST LA PALMA, SUITE 207

ANAHEIM, CA 92805.

Telephone: 714-772-2485                               Fax: 714-772-2069

G
✔    Attorney for Debtor
G    Debtor in Pro Per


                                      UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
 List all names including trade names, used by                   Case No.:
 Debtor(s) within last 8 years:
 Judith Ospina

                                                                               NOTICE OF AVAILABLE
                                                                                    CHAPTERS
                                                                  (Notice to Individual Consumer Debtor Under § 342(b) of the Bankruptcy Code)




In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any
changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other),
and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single
copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.

1.     Services Available from Credit Counseling Agencies

       With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
       bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
       credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
       days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
       by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by
       the United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult
       of the approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

       In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
       instructional course before he or she can receive a discharge. The clerk also has a list of approved financial
       management instructional courses. Each debtor in a joint case must complete the course.
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     B 201 - Notice of Available Chapters (Rev. 11/11)                                                    USBC, Central District of California


     2.     The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)

            1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
               whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
               should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
               residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss
               your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
            2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
               right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
               creditors.
            3 The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
               have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
               discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
            4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may
               still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
               and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain
               debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by
               operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that
               a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court
               may determine that the debt is not discharged.

            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $46
            administrative fee: Total fee $281)
            1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
               installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
               amounts set forth in the Bankruptcy Code.
            2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
               them, using your future earnings. The period allowed by the court to repay your debts may be three years or five
               years, depending upon your income and other factors. The court must approve your plan before it can take effect.
            3. After completing the payments under your plan, your debts are generally discharged except for domestic support
               obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are
               not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain
               long term secured obligations.

            Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1046)
            Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
            quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
            Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
            earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income
            arises primarily from a family-owned farm or commercial fishing operation.

3.        Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury,
          either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information
          supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through
          the Office of the United States Trustee, the Office of the United States Attorney, and other components and employees
          of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.
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  B 201 - Notice of Available Chapters (Rev. 11/11)                                                   USBC, Central District of California




                              Certificate of [Non-Attorney] Bankruptcy Petition Preparer
      I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor
this notice required by § 342(b) of the Bankruptcy Code.



Printed name and title, if any, of Bankruptcy Petition Preparer               Social Security number (If the bankruptcy petition
                                                                              Address: preparer is not an individual, state the
                                                                              Social Security number of the officer, principal,
                                                                              responsible person, or partner of the bankruptcy
                                                                              petition preparer.) (Required by 11 U.S.C. § 110.)

X
Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.

Certificate of the Debtor

      I (We), the debtor(s), affirm that I (we) have received and read this notice.



Judith Ospina                                                                    /s/Judith Ospina                09/18/2012
Printed Name(s) of Debtor(s)                                                Signature of Debtor                   Date


Case No. (if known)                                                         X
                                                                            Signature of Joint Debtor (if any)    Date
                 Case 8:12-bk-20984-TA
B6 Summary (Official Form 6 - Summary) (12/07)
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                                            UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                        DIVISION
   In re Judith Ospina                                                                                                       Case No.
                                                                                                                             Chapter 13


                                                                                                                / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1          $                     0.00

 B-Personal Property
                                             Yes                3          $              8,880.00

 C-Property Claimed as
   Exempt
                                             Yes                1

 D-Creditors Holding Secured
   Claims
                                             Yes                1                                           $              7,650.00

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                1                                           $                     0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes                1                                           $                     0.00

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                            $             1,500.00

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                1                                                                            $             1,260.00

                                  TOTAL                       12            $              8,880.00          $             7,650.00
                 Case 8:12-bk-20984-TA
B6 Summary (Official Form 6 - Summary) (12/07)              Doc 1 Filed 09/18/12 Entered 09/18/12 15:38:25                                           Desc
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                                               UNITED STATES BANKRUPTCY COURT
                                               CENTRAL DISTRICT OF CALIFORNIA
                                                           DIVISION
   In re Judith Ospina                                                                                                           Case No.
                                                                                                                                 Chapter 13



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $       0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $       0.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $       0.00
   Student Loan Obligations (from Schedule F)                                                                     $       0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on                         $       0.00
   Schedule E
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $       0.00
                                                                                                     TOTAL        $       0.00

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   1,500.00
   Average Expenses (from Schedule J, Line 18)                                                                        $   1,260.00
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   1,500.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   0.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   0.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   0.00
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   0.00
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B6 Declaration (Official Form 6 - Declaration) (12/07)
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In re Judith Ospina                                                                                                       Case No.
                                                         Debtor                                                                                               (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      13     sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   9/18/2012                                       Signature   /s/ Judith Ospina
                                                                          Judith Ospina




                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                 Case 8:12-bk-20984-TA
FORM B6A (Official Form 6A) (12/07)
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In re Judith Ospina                                                                              ,                Case No.
                                      Debtor(s)                                                                                                  (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                                Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                           Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


None                                                                                                                                                 None




No continuation sheets attached                                                            TOTAL $                             0.00
                                                                    (Report also on Summary of Schedules.)
                      Case 8:12-bk-20984-TA
B6B (Official Form 6B) (12/07)
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In re Judith Ospina                                                                                       ,                  Case No.
                                                   Debtor(s)                                                                                                     (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                     N            Description and Location of Property                                                  Value
                                                                                                                                                of Debtor's Interest,
                                                    o                                                                       Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                    n                                                                                            Secured Claim or
                                                                                                                               Joint--J
                                                    e                                                                     Community--C               Exemption


1. Cash on hand.                                    X

2. Checking, savings or other financial                 Checking Account                                                                                  $ 180.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building         Location: In debtor's possession
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,         X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                     Household goods and furnishings                                                                   $ 700.00
   including audio, video, and computer
   equipment.                                           Location: In debtor's possession


5. Books, pictures and other art objects,           X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                 X

7. Furs and jewelry.                                X

8. Firearms and sports, photographic, and           X
   other hobby equipment.

9. Interests in insurance policies. Name            X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                 X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other        X
    pension or profit sharing plans. Give
    particulars.
13. Stock and interests in incorporated and         X
    unincorporated businesses. Itemize.




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In re Judith Ospina                                                                                     ,     Case No.
                                                   Debtor(s)                                                                                 (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                 Current
                 Type of Property                   N            Description and Location of Property                             Value
                                                                                                                            of Debtor's Interest,
                                                    o                                                         Husband--H    in Property Without
                                                                                                                  Wife--W      Deducting any
                                                    n                                                                        Secured Claim or
                                                                                                                 Joint--J
                                                    e                                                       Community--C         Exemption

14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor           X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,    X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests         X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims        X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.

22. Patents, copyrights, and other intellectual     X
    property. Give particulars.

23. Licenses, franchises, and other general         X
    intangibles. Give particulars.

24. Customer lists or other compilations            X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other             2002 Chevrolet Avalanche                                                  $ 8,000.00
    vehicles and accessories.
                                                        Location: In debtor's possession


26. Boats, motors, and accessories.                 X

27. Aircraft and accessories.                       X

28. Office equipment, furnishings, and              X
    supplies.

29. Machinery, fixtures, equipment and              X
    supplies used in business.

30. Inventory.                                      X




Page       2      of     3
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In re Judith Ospina                                                                                ,              Case No.
                                              Debtor(s)                                                                                              (if known)


                                                   SCHEDULE B-PERSONAL PROPERTY
                                                                     (Continuation Sheet)

                                                                                                                                         Current
               Type of Property                N            Description and Location of Property                                          Value
                                                                                                                                    of Debtor's Interest,
                                               o                                                                  Husband--H        in Property Without
                                                                                                                      Wife--W          Deducting any
                                               n                                                                                     Secured Claim or
                                                                                                                     Joint--J
                                               e                                                                Community--C             Exemption

31. Animals.                                   X

32. Crops - growing or harvested.              X
    Give particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not    X
    already listed. Itemize.




Page      3     of     3                                                                                     Total                          $ 8,880.00
                                                                                                                 (Report total also on Summary of Schedules.)
                                                                                                       Include amounts from any continuation sheets attached.
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B6C (Official Form 6C) (04/10)
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In re
        Judith Ospina                                                                         ,                  Case No.
                                       Debtor(s)                                                                                               (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:         Check if debtor claims a homestead exemption that exceeds $146,450.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                    Specify Law                               Value of                  Current
             Description of Property                               Providing each                             Claimed              Value of Property
                                                                     Exemption                               Exemption             Without Deducting
                                                                                                                                      Exemptions


                         None




    Page No.      1 of       1

* Amount subject to adjustment on 4/1/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6D (Official Form 6D) (12/07)



In re Judith Ospina                                                                                 ,                                    Case No.
                                          Debtor(s)                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

          State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
          List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
          If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
          Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in
the boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of
Claim Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain

   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                           Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                    Unliquidated


              Including ZIP Code and
                                                                                                                    Contingent




                                                              Value of Property Subject to Lien
                                                  Co-Debtor




                                                                                                                                      Deducting Value
                                                                                                                    Disputed


                  Account Number
              (See Instructions Above.)                       H--Husband                                                                 of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:
        9337                                                    01/2010                                                                     $ 7,650.00                             $ 0.00
Creditor # : 1                                                  Auto Loan
First Credit Finance
16005 Sherman Way Ste 205
Van Nuys CA 91406

                                                                 Value:   $ 8,000.00
Account No:




                                                                 Value:
Account No:




                                                                 Value:

No continuation sheets attached                                                                                Subtotal $                   $ 7,650.00                              $ 0.00
                                                                                                            (Total of this page)
                                                                                                                     Total $                $ 7,650.00                              $ 0.00
                                                                                                        (Use only on last page)
                                                                                                                                   (Report also on Summary of   (If applicable, report also on
                                                                                                                                   Schedules.)                  Statistical Summary of
                                                                                                                                                                Certain Liabilities and
                                                                                                                                                                Related Data)
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In re Judith Ospina                                                                                      ,                             Case No.
                                            Debtor(s)                                                                                                           (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. §
     507(a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                        No continuation sheets attached
                 Case 8:12-bk-20984-TA                        Doc 1 Filed 09/18/12 Entered 09/18/12 15:38:25                                                                                    Desc
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B6F (Official Form 6F) (12/07)


In re Judith Ospina                                                                                               ,                                   Case No.
                                         Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:




Account No:




Account No:




Account No:




No continuation sheets attached                                                                                                                     Subtotal $                                             $ 0.00
                                                                                                                                                                    Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                            $ 0.00
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Judith Ospina                                                                                            / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




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In re Judith Ospina                                                                           / Debtor         Case No.
                                                                                                                                            (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor




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In re Judith Ospina                                                                                       ,                    Case No.
                                                 Debtor(s)                                                                                                (if known)


                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
   Debtor's Marital                                                                  DEPENDENTS OF DEBTOR AND SPOUSE
     Status:                       RELATIONSHIP(S):                                                                                AGE(S):
       Single                        Daughter                                                                                      8 Yrs
                                     Son                                                                                           5 Yrs
  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation                     Dancer Instructor
  Name of Employer               Selfemployed
  How Long Employed              1 Year
  Address of Employer            Irvine CA            92618
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $                          700.00 $                             0.00
  2. Estimate monthly overtime                                                                             $                            0.00 $                             0.00
  3. SUBTOTAL                                                                                              $                          700.00 $                             0.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                                 $                            0.00      $                        0.00
      b. Insurance                                                                                         $                            0.00      $                        0.00
      c. Union dues                                                                                        $                            0.00      $                        0.00
      d. Other (Specify):                                                                                  $                            0.00      $                        0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                            0.00 $                             0.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                          700.00      $                        0.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                            0.00      $                        0.00
  8. Income from real property                                                                             $                            0.00      $                        0.00
  9. Interest and dividends                                                                                $                            0.00      $                        0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                            0.00      $                        0.00
  of dependents listed above.
  11. Social security or government assistance
    (Specify):                                                                                             $                            0.00 $                             0.00
  12. Pension or retirement income                                                                         $                            0.00 $                             0.00
  13. Other monthly income
    (Specify): Live in boyfriend                                                                           $                          800.00 $                             0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                      800.00 $                              0.00
  15. AVERAGE MONTHLY INCOME                 (Add amounts shown on lines 6 and 14)                            $                    1,500.00 $                              0.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                  1,500.00
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




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In re Judith Ospina                                                                                           ,                           Case No.
                                                   Debtor(s)                                                                                                                 (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

        Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Prorate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from
the deductions from income allowed on Form 22 A or 22C.
    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
    "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                   $                     550.00
                                                                             .....................................................................................................................
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel                                                                                                            $                        0.00
                                                ..................................................................................................................................................
                b. Water and sewer                                                                                                                        $                        0.00
                c. Telephone       ..............................................................................................................................................................
                                                                                                                                                          $                      55.00
                d. Other      Gas                                                                                                                         $                      10.00
                  Other
                             ...................................................................................................................................................................
                                                                                                                                                          $                        0.00

 3. Home maintenance (repairs and upkeep)                                                                                                                 $                         0.00
                                                   ..............................................................................................................................................
 4. Food                                                                                                                                             $                     400.00
 5. Clothing                                                                                                                                         $                        0.00
             .................................................................................................................................................................................
 6. Laundry and dry cleaning                                                                                                                         $                      30.00
 7. Medical and dental expenses                                                                                                                           $                        0.00
                                         ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                           $                     150.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                     $                         0.00
                                                                             ..................................................................................................................
 10. Charitable contributions                                                                                                                             $                        0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                  $                         0.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                     $                        0.00
              c. Health                                                                                                                                  $                         0.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                 $                       65.00
              e. Other                                                                                                                                $                         0.00
                      ........................................................................................................................................................................
                Other                                                                                                                                 $                         0.00


  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)                                                                                                                                               $                        0.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                        $                         0.00
                          ........................................................................................................................................................................
           b. Other:                                                                                                                                      $                        0.00
           c. Other:                                                                                                                                      $                         0.00
                          ........................................................................................................................................................................

  14. Alimony, maintenance, and support paid to others                                                                                                    $                        0.00
                                                              ..................................................................................................................................
  15. Payments for support of additional dependents not living at your home                                                                              $                        0.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                       $                        0.00
                                                                                                         ....................................................................................
  17. Other:                                                                                                                                             $                        0.00
     Other:                                                                                                                                              $                        0.00
                  ...............................................................................................................................................................................
                                                                                                                                                                                   0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $                 1,260.00
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $                 1,500.00
      b. Average monthly expenses from Line 18 above                                                                                                      $                 1,260.00
      c. Monthly net income (a. minus b.)                                                                                                                 $                   240.00
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                                            UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                        DIVISION

In re: Judith Ospina                                                                                                  Case No.
       aka Judith Rosario Ospina



                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting
or equity securities of a corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the
debtor. 11 U.S.C. §101.




         1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date: $8,200.00
Last Year:$6,526.00


         2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)

AMOUNT                                                    SOURCE

Year to date:$3,600.00                                    Child Support



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        3. Payments to creditors
None    Complete a. or b., as appropriate, and c.

        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
        creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
        affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
        obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
        filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)




None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
        commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $5,850*. If the debtor is
        an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
        repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
        must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)


        * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
        were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and a joint petition is not filed.)




        4. Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)




None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        5. Repossessions, foreclosures and returns
None    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
        within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        6. Assignments and receiverships
None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
        debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)




                                                                                                                        Statement of Affairs - Page 2
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None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        7. Gifts
None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
        family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
        (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and a joint petition is not filed.)




        8. Losses
None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)




        9. Payments related to debt counseling or bankruptcy
None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
        consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
         this case.

                                                        DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                               NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: David Chase                                      Payor: Judith Ospina                                         $150.00
Address:
1900 East La Palma Suite 207
Anaheim, CA 92805.


        10. Other transfers
None    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
        or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
        transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
        of which the debtor is a benificiary.




        11. Closed financial accounts
None    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
        within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
        other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
        institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
        spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




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        12. Safe deposit boxes
None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
        the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
        or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        13. Setoffs
None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)




        14. Property held for another person
None    List all property owned by another person that the debtor holds or controls.




        15. Prior address of debtor
None    If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
        period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




        16. Spouses and Former Spouses
None    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
        New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
        the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




        17. Environmental Information
None    For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
        wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
        cleanup of these substances, wastes, or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
        debtor,
        including, but not limited to disposal sites.

        "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
        similar termunder an Environmental Law:

        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
        under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
        governmental unit to which the notice was sent and the date of the notice.




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None     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
         party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




         18. Nature, location and name of business
None     a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
         businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
         self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
         which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                  If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
         commencment of this case.

                  If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
         commencment of this case.




None     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date   09/18/2012                             Signature       /s/ Judith Ospina
                                                     of Debtor


                                                     Signature
       Date
                                                     of Joint Debtor
                                                     (if any)




                                                                                                                               Statement of Affairs - Page 5
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                         CENTRAL          DISTRICT OF CALIFORNIA



       Judith Ospina                                                        13
       aka Judith Rosario Ospina




    Judith Ospina




✔




        09/18/2012                                      /s/ Judith Ospina
                                                        Judith Ospina


        09/18/2012
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                                            UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                        DIVISION
In re Judith Ospina                                                                                                 Case No.
      aka Judith Rosario Ospina                                                                                     Chapter 13




                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the
     above-named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                 1,700.00
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . $                     150.00
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $   1,550.00

2.   The source of the compensation paid to me was:
        Debtor            Other (specify)


3.   The source of compensation to be paid to me is:
          Debtor                     Other (specify)


4.        I have not agreed to share the above-disclosed compensation with any other person unless they are
          members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or
          associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing
          in the compensation, is attached.


5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     including:

     a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
     petition in bankruptcy;

     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearing
     thereof;

     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e. [Other provisions as needed].
          None
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6.     By agreement with the debtor(s), the above-disclosed fee does not include the following services:
        None




                                                  CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.




      09/18/2012                                      /s/ David Chase
      Date                                            Signature of Attorney


                                                      Law Office of David Chase
                                                      Name of Law Firm
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 Attorney or Party Name, Address, Telephone & FAX Numbers, and California State Bar Number                   FOR COURT USE ONLY
David Chase
Law Office of David Chase
1900 East La Palma Suite 207
Anaheim , CA 92805.
Phone: 714-772-2485
FAX:
California State Bar Number:109172
 Attorney for   Judith Ospina
                    UNITED STATES BANKRUPTCY COURT
                     CENTRAL DISTRICT OF CALIFORNIA
 In re:   Judith Ospina                                                                                              13
                                                                                                             CHAPTER _______

          aka Judith Rosario Ospina
                                                                                                             CASE NUMBER


                                                                                                Debtor.                         (No Hearing Required)


                                  DECLARATION RE: LIMITED SCOPE OF APPEARANCE
                                   PURSUANT TO LOCAL BANKRUPTCY RULE 2090-1

TO THE COURT, THE DEBTOR, THE TRUSTEE (if any), AND THE UNITED STATES TRUSTEE:

1. I am the attorney for the Debtor in the above-captioned bankruptcy case.

                                09/14/2012
2. On (specify date) _________________________,                                                 1700.00
                                                I agreed with the Debtor that for a fee of $______________, I would
   provide only the following services:

     a.   
          ✔     Prepare and file the Petition and Schedules
     b.   
          ✔     Represent the Debtor at the 341(a) Meeting
     c.        Represent the Debtor in any relief from stay actions
     d.        Represent the Debtor in any proceeding involving an objection to Debtor’s discharge pursuant to
                11 U.S.C. § 727
     e.        Represent the Debtor in any proceeding to determine whether a specific debt is nondischargeable under
                11 U.S.C. § 523
     f.        Other (specify):



3. I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct and
   that this declaration was executed on the following date at the city set forth in the upper left-hand corner of this page.

Dated: 9/14/12                                                                                           Law Office of David Chase
                                                                                                        _______________________________________
                                                                                                        Law Firm Name
I HEREBY APPROVE THE ABOVE:
                                                                                                        By: ____________________________________
                                                                                                            /s/ David Chase
/s/ Judith Ospina
_____________________________________
Signature of Debtor
                                                                                                               David Chase
                                                                                                        Name: _________________________________
Judith Ospina
                                                                                                                Attorney for Debtor
_____________________________________
 Signature of Joint Debtor



                      This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                                          F 2090-1.1
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                                                                          According to the calculations required by this statement:
   In re   Judith Ospina
                              Debtor(s)                               The applicable commitment period is 3 years.
                                                                      The applicable commitment period is 5 years.
   Case number:
                                 (If known)                           Disposable income is determined under § 1325(b)(3).
                                                                      Disposable income is not determined under § 1325(b)(3).
                                                                     (Check the boxes as directed in Lines 17 and 23 of this statement.)


                           CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                     AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME

In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly.
Joint debtors may complete one statement only.

                                                             Part I. REPORT OF INCOME
                Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
           a.        Unmarried. Complete only Column A ("Debtor’s Income") for Lines 2-10.
           b.        Married. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for lines 2-10.
   1
           All figures must reflect average monthly income received from all sources, derived during the six calendar                      Column A       Column B
           months prior to filing the bankruptcy case, ending on the last day of the month before the filing. If the amount                 Debtor's      Spouse's
           of monthly income varied during the six months, you must divide the six month total by six, and enter the                        Income         Income
           result on the appropriate line.
   2       Gross wages, salary, tips, bonuses, overtime, commissions.                                                                      $700.00     $

           Income from the operation of a business, profession, or farm.             Subtract Line b from Line a and enter
           the difference in the appropriate column(s) of Line 3. If you operate more than one business, profession or
           farm, enter aggregate numbers and provide details on an attachment. Do not enter a number less than zero.
           Do not include any part of the business expenses entered on Line b as a deduction in Part IV.
   3
                a.     Gross receipts                                                $0.00
                b.     Ordinary and necessary business expenses                      $0.00
                c.     Business income                                               Subtract Line b from Line a                           $0.00       $

           Rent and other real property income. Subtract Line b from Line a and enter the difference
           in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
           part of the operating expenses entered on Line b as a deduction in Part IV.
   4            a.     Gross receipts                                                      $0.00
                b.     Ordinary and necessary operating expenses                           $0.00
                c.     Rent and other real property income                                 Subtract Line b from Line a                     $0.00       $

   5       Interest, dividends, and royalties.                                                                                             $0.00       $

   6       Pension and retirement income.                                                                                                  $0.00       $

           Any amounts paid by another person or entity, on a regular basis, for the household
           expenses the debtor or the debtor’s dependents, including child support paid for that purpose.
   7       Do not include alimony or separate maintenance payments or amounts paid by the debtor’s spouse.
           Each regular payment should be reported in only one column; if a payment is listed in Column A,
           do not report that payment in Column B.                                                                                         $800.00     $

           Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
           However, if you contend that unemployment compensation received by you or your
           spouse was a benefit under the Social Security Act, do not list the amount of such compensation
   8       in Column A or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act                       $0.00
                                                                       Debtor _____________                   $
                                                                                                       Spouse _____________                $0.00       $
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      Income from all other sources. Specify source and amount. If necessary, list additional sources on a
      separate page. Total and enter on Line 9. Do not include alimony or separate maintenance payments
9     paid by your spouse, but include all other payments of alimony or separate maintenance.
      Do not include any benefits received under the Social Security Act or payments received as a victim of a
      against humanity, or as a victim of international or domestic terrorism.

             a.                                                                             0
             b.                                                                             0

                                                                                                                                 $0.00         $
      Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
10
      through 9 in Column B. Enter the total(s).                                                                                 $1,500.00     $

      Total. If column B has been completed, add Line 10, Column A to Line 10, Column B, and
11                                                                                                                                           $1,500.00
      enter the total. If Column B has not been completed, enter the amount from Line 10, Column A.



                            Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
12    Enter the amount from Line 11.                                                                                                         $1,500.00
      Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that calculation
      of the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse, enter on
      Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a regular basis for the
      household expenses of you or your dependents and specify, in the lines below, the basis for excluding this
      income (such as payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or
      the debtor’s dependents) and the amount of income devoted to each purpose. If necessary, list additional
13    adjustments on a separate page. If the conditions for entering this adjustment do not apply, enter zero.

        a.                                                                     $0.00
        b.                                                                     $0.00
        c.                                                                     $0.00
                                                                                                                                             $0.00
14    Subtract Line 13 from Line 12 and enter the result.                                                                                    $1,500.00
      Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by
15
      the number 12 and enter the result.                                                                                                    $18,000.00

      Applicable median family income. Enter the median family income for applicable state and household
      size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the
16
      bankruptcy court.)
      a. Enter debtor’s state of residence: _________________________
                                                CALIFORNIA                 b. Enter debtor’s household size: ________________
                                                                                                                  3                          $66,050.00

      Application of § 1325(b)(4). Check the applicable box and proceed as directed.

        The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment
17    period is 3 years" at the top of page 1 of this statement and continue with this statement.
        The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment
      period is 5 years" at the top of page 1 of this statement and continue with this statement.



             Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
18    Enter the amount from Line 11.                                                                                                         $1,500.00
      Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total of any
      income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of the
      debtor or the debtor’s dependents. Specify in the lines below the basis for excluding the Column B income (such
      as payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s
      dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on a
19    separate page. If the conditions for entering this adjustment do not apply, enter zero.

        a.                                                                     $0.00
        b.                                                                     $0.00
        c.                                                                     $0.00
                                                                                                                                             $0.00
20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                                           $1,500.00
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      Annualized current monthly income for § 1325(b)(3).         Multiply the amount from Line 20 by
21
      the number 12 and enter the result.                                                                                                  $18,000.00
22    Applicable median family income. Enter the amount from Line 16.                                                                      $66,050.00
      Application of § 1325(b)(3). Check the applicable box and proceed as directed.

         The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is
         determined under § 1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
23
         The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not
         determined under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement.
         Do not complete Parts IV, V, or VI.

                     Part IV. CALCULATION OF DEDUCTIONS ALLOWED FROM INCOME
                        Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
      National Standards: food, apparel and services, housekeeping supplies, personal care, and miscellaneous.
      Enter in Line 24A the “Total” amount from IRS National Standards for Allowable Living Expenses for the applicable
24A   number of persons. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
      court.) The applicable number of persons is the number that would currently be allowed as exemptions on your
      federal income tax return, plus the number of any additional dependents whom you support.                                            $

      National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-of-Pocket
      Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-of-Pocket
      Health Care for persons 65 years of age or older. (This information is available at    www.usdoj.gov/ust/ or from
      the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons who are under 65 years of
      age, and enter in Line b2 the applicable number of persons who are 65 years of age or older. (The applicable
      number of persons in each age category is the number in that category that would currently be allowed as
      exemptions on your federal income tax return, plus the number of any additional dependents whom you support.)
      Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in Line c1. Multiply
24B   Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line c2. Add Lines c1
      and c2 to obtain a total health care amount, and enter the result in Line 24B.

        Household members under 65 years of age                          Household members 65 years of age or older

       a1.   Allowance per member                                       a2.    Allowance per member

       b1.   Number of members                                          b2.    Number of members

       c1.   Subtotal                                                   c2.    Subtotal                                                    $

      Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS
      Housing and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
25A   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family
      size consists of the number that would currently be allowed as exemptions on your federal income tax return,
      plus the number of any additional dependents whom you support.                                                                       $

      Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount
      of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
      information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family
      size consists of the number that would currently be allowed as exemptions on your federal income tax return,
      plus the number of any additional dependents whom you support); enter on Line b the total of the Average
      Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and
25B   enter the result in Line 25B. Do not enter an amount less than zero.

        a.   IRS Housing and Utilities Standards; mortgage/rent Expense                                   $
       b.    Average Monthly Payment for any debts secured by your
             home, if any, as stated in Line 47                                                           $
        c.   Net mortgage/rental expense                                                                  Subtract Line b from Line a.     $

      Local Standards: housing and utilities; adjustment. If you contend that the process set out in
      Lines 25A and 25B does not accurately compute the allowance to which you are entitled under the IRS
      Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
      state the basis for your contention in the space below:
26



                                                                                                                                           $
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      Local Standards: transportation; vehicle operation/public transportation expense.
      You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
      operating a vehicle and regardless of whether you use public transportation.
      Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
      are included as a contribution to your household expenses in Line 7.         0       1       2 or more.
27A
      If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
      Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS Local
      Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
      Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                                                                    $

      Local Standards: transportation; additional public transportation expense.
      If you pay the operating expenses for a vehicle and also use public transportation, and you contend that you
27B   are entitled to an additional deduction for your public transportation expenses, enter on Line 27B the “Public
      Transportation” amount from IRS Local Standards: Transportation. (This amount is available at          www.usdoj.gov/ust/
      or from the clerk of the bankruptcy court.)                                                                                   $

      Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number
      of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease expense
      for more than two vehicles.)       1    2 or more.

      Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
      Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a
28    Line 28. Do not enter an amount less than zero.

        a.     IRS Transportation Standards, Ownership Costs                         $
        b.     Average Monthly Payment for any debts secured by
               Vehicle 1, as stated in Line 47
                                                                                     $
        c.     Net ownership/lease expense for Vehicle 1                            Subtract Line b from Line a.                    $

      Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
      only if you checked the "2 or more" Box in Line 28.
      Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
      Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a

29    Line 29. Do not enter an amount less than zero.

        a.     IRS Transportation Standards, Ownership Costs                         $
        b.     Average Monthly Payment for any debts secured by
               Vehicle 2, as stated in Line 47                                       $
        c.     Net ownership/lease expense for Vehicle 2                            Subtract Line b from Line a.                    $

      Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
30    for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
      taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                  $

      Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly deductions
31    that are required for your employment, such as mandatory retirement contributions, union dues, and uniform costs.
      Do not include discretionary amounts, such as voluntary 401(k) contributions.                                                 $

      Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually
32    pay for term life insurance for yourself. Do not include premiums for insurance on your dependents,
      for whole life, or for any other form of insurance.                                                                           $

      Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required
33    to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments.
      Do not include payments on past due obligations included in Line 49.                                                          $

      Other Necessary Expenses: education for employment or for a physically or mentally
      challenged child. Enter the total average monthly amount that you actually expend for education that is a
34
      condition of employment and for education that is required for a physically or mentally challenged dependent
      child for whom no public education providing similar services is available.

      Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend
35
      on childcare -- such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.             $
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      Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on health
      care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by insurance or
36
      paid by a health savings account, and that is in excess of the amount entered in Line 24B.
      Do not include payments for health insurance listed or health savings accounts listed in Line 39.                            $

      Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you actually
      pay for telecommunication services other than your basic home telephone and cell phone service—such as
37
      pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for your health
      that of your dependents. Do not include any amount previously deducted.                                                      $

38    Total Expenses Allowed under IRS Standards.           Enter the total of Lines 24 through 37.                                $

                                   Subpart B: Additional Living Expense Deductions
                           Note: Do not include any expenses that you have listed in Lines 24-37
      Health Insurance, Disability Insurance, and Health Savings Account Expenses.                List the monthly expenses in
      the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your dependents.
        a.    Health Insurance                                                      $
        b.    Disability Insurance                                                  $
        c.    Health Savings Account                                                $
39
        Total and enter on Line 39
                                                                                                                                   $
        If you do not actually expend this total amount, state your actual total average monthly expenditures in the
        space below:
         $

      Continued contributions to the care of household or family members. Enter the total average actual
      monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
40
      elderly, chronically ill, or disabled member of your household or member of your immediate family who is
      unable to pay for such expenses. Do not include payments listed in Line 34.                                                  $

      Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
41    actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or
      other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                 $

      Home energy costs. Enter the average monthly amount, in excess of the allowance specified by IRS
      Local Standards for Housing and Utilities, that you actually expend for home energy costs.
42
      You must provide your case trustee with documentation of your actual expenses, and
      you must demonstrate that the additional amount claimed is reasonable and                                                    $

      Education expenses for dependent children under 18. Enter the total average monthly expenses that you
      actually incur, not to exceed $147.92 per child, for attendance at a private or public elementary or secondary school
43    by your dependent children less than 18 years of age. You must provide your case trustee with documentation
      of your actual expenses, and you must explain why the amount claimed is reasonable and necessary and
      not already accounted for in the IRS Standards.                                                                              $

      Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
      expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National Standards,
44    not to exceed 5% of those combined allowances. (This information is available at  www.usdoj.gov/ust/ or from the
      clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is reasonable and
      necessary.                                                                                                                   $

      Charitable contributions. Enter the amount reasonably necessary for you to expend each month on charitable
45    contributions in the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C.
      § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.                                    $

46    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                                  $

                                               Subpart C: Deductions for Debt Payment
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      Future payments on secured claims. For each of your debts that is secured by an interest in property that you
      own, list the name of the creditor, identify the property securing the debt, state the Average Monthly Payment, and
      check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all amounts
      scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the bankruptcy
      case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the Average Monthly

               Name of Creditor          Property Securing the Debt                    Average Payment              Does payment include
                                                                                                                    taxes or insurance?
47
        a.                                                                             $                                Yes       No
        b.                                                                             $                                Yes       No
        c.                                                                             $                                Yes       No
        d.                                                                             $                                Yes       No
        e.                                                                             $                                Yes       No
                                                                                      Total: Add Lines a - e                                 $


      Other payments on secured claims. If any of the debts listed in Line 47 are secured by your primary
      residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
      you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
      in addition to the payments listed in Line 47, in order to maintain possession of the property. The cure
      amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
      List and total any such amounts in the following chart. If necessary, list additional entries on a separate page.
               Name of Creditor            Property Securing the Debt                              1/60th of the Cure Amount
48
        a.                                                                                         $
        b.                                                                                         $
        c.                                                                                         $
        d.                                                                                         $
                                                                                                                                             $
        e.                                                                                         $
                                                                                                   Total: Add Lines a - e

      Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
49    as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing.
      Do not include current obligations, such as those set out in Line 33.                                                                  $

      Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and
      enter the resulting administrative expense.
        a.     Projected average monthly Chapter 13 plan payment.                              $
50      b.     Current multiplier for your district as determined under schedules
               issued by the Executive Office for United States Trustees.
               (This information is available at www.usdoj.gov/ust/ or from the
               clerk of the bankruptcy court.)                                             x
        c.     Average monthly administrative expense of Chapter 13 case                   Total: Multiply Lines a and b                     $

51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                                             $

                                               Subpart D: Total Deductions from Income
52     Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                                         $




                   Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
53    Total current monthly income. Enter the amount from Line 20.                                                                           $

      Support income. Enter the monthly average of any child support payments, foster care payments, or
54    disability payments for a dependent child, reported in Part I, that you received in accordance with applicable
      nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                                                   $

      Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from wages
55    as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required repayments of loans from
      retirement plans, as specified in § 362(b)(19).                                                                                        $

56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.
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      Deduction for special circumstances. If there are special circumstances that justify additional expenses for which
      there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines a-c
      below. If necessary, list additional entries on a separate page. Total the expenses and enter the total in Line 57.
      You must provide your case trustee with documentation of these expenses and you must provide
      a detailed explanation of the special circumstances that make such expenses necessary and

57
                Nature of special circumstances                                       Amount of expense
        a.                                                                            $0.00
        b.                                                                            $0.00
        c.                                                                            $0.00
                                                                                      Total: Add Lines a, b, and c                         $0.00

      Total adjustments to determine disposable income.           Add the amounts on Lines 54, 55, 56, and 57
58
      and enter the result.                                                                                                                $

      Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the
59
      result.                                                                                                                              $

                                            Part VI: ADDITIONAL EXPENSE CLAIMS
      Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
      health and welfare of you and your family and that you contend should be an additional deduction from your current
      monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect
      your average monthly expense for each item. Total the expenses.
                                      Expense Description                                              Monthly Amount
60
        a.                                                                            $
        b.                                                                            $
        c.                                                                            $
                                          Total: Add Lines a, b, and c                $




                                                         Part VII: VERIFICATION
      I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
      both debtors must sign.)
      Date: ________________________
             09/18/2012                                   /s/ Judith Ospina
                                             Signature: ______________________________________________________________________
61
                                                               (Debtor)
             09/18/2012
      Date: ________________________         Signature: ______________________________________________________________________
                                                         (Joint Debtor, if any )
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Verification of Creditor Mailing List - (Rev. 10/05)                                          2003 USBC, Central District of California



                                               MASTER MAILING LIST
                                    Verification Pursuant to Local Rule 1007-2(d)

Name David Chase

Address 1900 East La Palma Suite 207 Anaheim, CA 92805.

Telephone 714-772-2485

[X]         Attorney for Debtor(s)
[ ]         Debtor In Pro Per


                                       UNITED STATES BANKRUPTCY COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
  List all names including trade names, used by Debtor(s) within                Case No.
  last 8 years:
  In re Judith Ospina                                                           Chapter 13
             aka Judith Rosario Ospina




                                     VERIFICATION OF CREDITOR MAILING LIST
The above named debtor(s), or debtor's attorney if applicable, do hereby certify under penalty of perjury that the
                                                          1
attached Master Mailing List of creditors, consisting of _____ sheet(s) is complete, correct and consistent with the
debtor's schedules pursuant to Local Rule 1007-2(d) and I/we assume all responsibility for errors and omissions.




Date: 09/18/2012                                                      /s/ Judith Ospina
                                                                      Debtor: Judith Ospina
/s/ David Chase
Attorney: David Chase                                                 Joint Debtor:
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     Judith Ospina
     110 Tangelo
     Irvine CA 92618


     David Chase
     1900 East La Palma Suite 207
     Anaheim CA 92805


     First Credit Finance
     16005 Sherman Way Ste 205
     Van Nuys CA 91406
